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                           UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF WEST VIRGINIA
                                    AT BECKLEY

 MOUNTAIN VALLEY PIPELINE, LLC,

                Plaintiff,
 v.                                               CIVIL ACTION NO 5:23-CV-00625

 MELINDA ANN TUHUS, and
 ROSE ZHENG ABRAMOFF

                Defendants.

                   NOTICE OF FILING OF WAIVER OF PRESENCE AT
                      HEARING ON PRELIMINARY INJUNCTION

       Defendants Melinda Ann Tuhus and Rose Zheng Abramoff, by Counsel, hereby file their

 waivers of presence (Attached as Exhibits A & B) at any hearing on a motion for preliminary

 hearing hereafter filed by Plaintiff.


                                                             Respectfully submitted,

                                                        MELINDA ANN THUSUS
                                                        ROSE ZHENG ABRAMOFF

                                                                 By Counsel

/s/William V. DePaulo
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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT BECKLEY

 MOUNTAIN VALLEY PIPELINE, LLC,
          Plaintiff,
 v.                                                    CIVIL ACTION NO 5:23-CV-00625

 MELINDA ANN TUHUS, and
 ROSE ZHENG ABRAMOFF
           Defendants.

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading was filed electronically with the Clerk
of the Court, this 26th day of October, 2023, and thereby served on Counsel for the Plaintiff as
follows:
                              Timothy M. Miller (WVSB #2564)
                               Matthew S. Casto (WVSB #8174)
                             Robert M. Stonestreet (WVSB # 9370)
                              Jennifer J. Hicks (WVSB # 11423)
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                                                                     /s/William V. DePaulo
                                                                       William V. DePaulo
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                                                                                 EXHIBIT "A"
                            UNITED STATES DISTRICT CO URT
                        SO U THERN DISTRICT OF WEST VIRGINIA
                                     AT BECKLEY

 MOUNTAIN VALLEY PIPELINE, LLC,

                Plaintiff,
 V.                                                     CIVIL ACTION NO 5:23-CV-00625

 MELINDA ANN TUHUS, and
 ROSE ZHENG ABRAMOFF

                Defendants.

      WAIVER OF PRESENCE AT HEARING ON PRELIMINARY INJUNCTION

       Defendants Melinda Ann Tuhus and Rose Zheng Abramoff, by Counsel, fully aware of

 their right to be present at any hearing on a motion for preliminary injunction, if and when filed

 by Plaintiff, waive that right after consulting with counsel.



                                                                        �
 MELINDA ANN THUSUS                                      ROSE ZHENG ABRAMOFF



                                                                  Respectfully submitted,

                                                                 MELINDA ANN THUSUS
                                                                 ROSE ZHENG ABRAMOFF

                                                                      By Counsel

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                                                                  EXHIBIT "B"
